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From: "Law Office of Michelle P. Smith"
Date: April 26, 2013, 3:45:58 PM EDT
To: "Megan_Chaddock                           "                                            ,
"Kelly.Karase            " <Kelly.Karase                ,                                               "

Subject: Frederic Cilins
Reply-To: "Law Office of Michelle P. Smith"

The Honorable James R. Klindt:

Per our discussion and your request in Court yesterday, attached please find the corrected mortgage
documents and affidavits. I would like to apologize to the Court for the massive confusion that there is
with regards to the properties that are being offered as security for Mr. Cilins' bond. I accept full
responsibility for this confusion and ask that this not be held against my client.

As you know, since being retained in this case a little over a week ago I have ran around like a crazy
woman trying to get records, passports, and information from France, Guinea, South America, Australia,
and Miami on short notice . As a result, I've had to rely on various other persons to assist me in that
endeavor, largely without the assistance of my client since he is almost 200 miles away from my office,
only available for visitation between 8 a.m. and 4:30 p.m. Monday through Friday (prison rules), and
outside my immediate access.

Last week, when I was trying to get the mortgage documents together as surety for the bond, I initially
relied upon Mr. Cilins' business attorney in Miami to prepare the mortgage documents for all of Mr. Cilins'
properties. As you are also aware, it was only after I appeared at the first hearing with the documents
and met with my client after the hearing that I learned that one mortgage was missing, the Turnberry
residence in Aventura, which was listed on the Pretrial Services report.

While I was re-reviewing the mortgages and affidavits, as well as preparing the mortgage and other
documents for Turnberry this morning, I noticed that the affidavits prepared by Mr. Cilins' attorney in
Miami for the Hollywood Beachfront Townhomes LLC and Hollywood Beachfront Townhomes South LLC
(collectively referred to as Hollywood Beachfront LLCs) properties were inaccurate. The affidavits for the
Hollywood Beachfront LLCs stated that Mr. Cilins is the sole owner of the LLCs. I knew from my
conversations with Mr. Cilins yesterday, as well as my questions to Ms. Watson, that these two LLCs are
in fact, three-member LLCs. I then contacted the attorney to verify my findings a short while ago. He
informed me that the Hollywood Beachfront LLC's were indeed three member LLCs. Two of the three
members (Mr. Cilins is the third member) agreed in a resolution last week to allow the properties to be
mortgaged to the Court to secure Mr. Cilins' bond. The affidavits for the Hollywood Beachfront LLCs have
been amended to reflect Mr. Cilins' one third membership/ownership in the LLCs. The attorney also sent
me the LLC resolutions consenting to the property being used for bond.

In summary, the following is a list of the properties that are being offered as security for Mr. Cilins' bond in
this case. The total amount offered is $3,607,570.00. None of the properties have mortgages on them
and thus they are unencumbered. Mr. Cilins will execute the affidavits and the resolutions, as well as any
other required documents once bond is granted.
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1) 19667 Turnberry, Aventura, FL----vacation home belonging to PHA Investments, solely owned by my
client, minimum value $252,410.00

2) Cedar Glen Condo, Unit 325E, Miami, FL--condo belonging to PHA Investments, solely owned by my
client, minimum value $54,840.00.

3) Regent Park Condo, 211-B, Hollywood, FL--condo belonging to PHA Investments, solely owned by my
client, minimum value $86,110.00.

4) Hollywood Station # 925, Hollywood, FL--condo belonging to PHA Investments, solely owned by my
client, minimum value $135,210.00.

5) Hollywood Station # 729, Hollywood, FL--condo belonging to PHA Investments, solely owned by my
client, minimum value $130,380.00.

6) 2300 Surf Rd, Hollywood, FL-- belonging to Hollywood Beachfront Townhomes LLC, owned by a three
member/owners, (one is my client), minimum value $1,320,820.00.

7) 2325 Surf Rd, Hollywood, FL--belonging to and Hollywood Beachfront Townhomes South LLC, owned
by a three member/owners, (one is my client), minimum value $1,627,800.00.

The LLC resolutions are attached with the documents also.


Again, I sincerely apologize for the confusion and any misrepresentations I made to you.

Respectfully,

/s/Michelle P. Smith

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Law Office of Michelle P. Smith, P.A.


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